Case 2:16-cv-07721-BRM-JAD Document 283 Filed 11/13/19 Page 1 of 9 PageID: 5790



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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY



  ADAPT PHARMA OPERATIONS
  LIMITED, ADAPT PHARMA INC., ADAPT
  PHARMA LIMITED, and OPIANT
  PHARMACEUTICALS, INC.,

                      Plaintiffs,

        v.                                 Civil Action No. 16-7721 (BRM)(JAD)
                                           (Consolidated)
  TEVA PHARMACEUTIALS USA, INC.
  and TEVA PHARMACEUTIALS
  INDUSTRIES, LTD.

                      Defendants.



               PLAINITFFS’ BRIEF REGARDING THE PETITIONS FOR
                INTER PARTES REVIEW OF THE PATENTS-IN-SUIT
Case 2:16-cv-07721-BRM-JAD Document 283 Filed 11/13/19 Page 2 of 9 PageID: 5791



        The recent institution decisions of the Patent Trial and Appeal Board fatally undermine

 Teva’s contention that the asserted claims of the patents-in-suit are obvious. The Board

 addressed the same obviousness issues that are before this Court and applied a much lower

 standard of proof than the clear-and-convincing standard Teva faces here. It concluded that there

 was not even a “reasonable likelihood” that the petitioner, Nalox-1 Pharmaceuticals, LLC, could

 prevail as to any of the claims requiring benzalkonium chloride (BZK), because Wyse (TX-

 0048), about which this Court heard extensive testimony at trial, taught away from its use. For

 Teva to prevail here, it needs to persuade this Court to adopt exactly the opposite position as the

 Board. Although the decisions of the Board are not binding here, its judges have subject-matter

 expertise, see Belden Inc. v. Berk-Tek LLC, 805 F.3d 1064, 1079 (Fed. Cir. 2015), and its

 “findings are trustworthy and probative of the issues,” Procter & Gamble Co. v. Team Techs.,

 Inc., 2014 WL 12656554, at *10 n.4 (S.D. Ohio July 3, 2014). As Plaintiffs explain in their trial

 brief, the record here only confirms that the Board’s non-obviousness determinations were

 correct and that Teva cannot possibly establish obviousness of any of the asserted claims.

 I.     Background: The Patent Trial and Appeal Board and the Nalox-1 Petitions

        An inter partes review (“IPR”) is a proceeding in which a panel of three administrative

 patent judges is tasked with reviewing the patentability of a previously issued patent. To request

 an IPR, a petitioner files a brief explaining why the claims should be found anticipated or

 obvious, along with written testimonial evidence. Based on that submission (and an optional

 response), the Board makes a preliminary decision whether to “institute” an IPR. 35 U.S.C.

 § 314. Initially, the Board must make a threshold determination that “there is a reasonable

 likelihood that the petitioner would prevail with respect to at least 1 of the claims challenged in

 the petition.” Id. § 314(a). If it institutes, the Board then receives further written submissions,

 typically hears oral argument, and ultimately issues a “final written decision.” Id. § 318(a).


                                                   1
Case 2:16-cv-07721-BRM-JAD Document 283 Filed 11/13/19 Page 3 of 9 PageID: 5792



        The “reasonable likelihood” standard imposes a far lower burden of proof on petitioner as

 compared to Teva’s burden in this case to prove obviousness by “clear and convincing

 evidence.” 35 U.S.C. § 273(b); Procter & Gamble, 2014 WL 12656554, at *10. The Board

 ultimately decides patentability by a preponderance of the evidence; at institution, the question is

 not even whether the petitioner has met this burden, but merely whether it has a reasonable

 likelihood of success in ultimately doing so. E.g., Nestlé Purina Petcare Co. v. Oil-Dri Corp. of

 Am., IPR2015-00737, Paper 16, at 2 (P.T.A.B. Sept. 23, 2015). Crucially, when the Board grants

 institution, it is required to institute a petition in its entirety—on all challenged claims—even if

 the petitioner has shown a reasonable likelihood of invalidating only one claim. The Board may

 not institute a petition only in part. SAS Inst., Inc. v. Iancu, 138 S. Ct. 1348, 1354 (2018).

        Nalox-1 filed a total of fifteen petitions for IPR: three against each of the four patents-in-

 suit before this Court (U.S. Patent Nos. 9,468,747 (“the ’747 patent”), 9,561,177 (“the ’177

 patent”), 9,269,965 (“the ’965 patent”), and 9,775,838 (“the ’838 patent”)), plus three against no-

 longer-asserted U.S. Patent No. 9,211,253 (“the 253 patent”).1 For each patent, Nalox-1 filed

 one petition with the Wyse patent (TX-0048) as the lead reference, one with Davies (TX-3109)

 as the lead, and one with a reference called Wang (not before this Court) as the lead reference.2

 The arguments in each petition, however, were substantially similar to each other and to the

 arguments Teva made before this Court. In each petition, Nalox-1 cited not only Wyse (TX-

 0048) and Davies (TX-3109), but also Djupesland (TX-3007), Kerr 2009 (TX-0029), and Bahal

 (TX-3009)—i.e., references that were the focus of trial and which include references that Teva


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   Nalox-1 challenged all claims of each patent, so the ten claims at issue in this case (claims 7
 and 9 of the ’747 patent, claim 4 of the ’177 patent, claims 21, 24, and 25 of the ’965 patent, and
 claims 2, 24, 33, and 38 of the ’838 patent) are a subset of the claims in Nalox-1’s petitions.
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  For the Court’s convenience, these differences and the status of each petition are summarized in
 Appendix A.


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Case 2:16-cv-07721-BRM-JAD Document 283 Filed 11/13/19 Page 4 of 9 PageID: 5793



 asserted in its obviousness “combinations.” Recognizing that Nalox-1’s arguments were largely

 the same across all of the IPRs, the Board exercised its discretion to deny all the petitions except

 some of the ones based on Wyse. See, e.g., Nalox-1 Pharms., LLC v. Opiant Pharms., Inc.,

 IPR2019-00689, Paper 11, at 10–11 (P.T.A.B. Sept. 9, 2109).

        Of the “Wyse” petitions, the Board denied the petitions relating to the ’177 and ’838

 patents, and instituted review of the ’253, ’747, and ’965 patents. In every case, however, the

 Board’s reasoning was essentially the same. Like Teva here, Nalox-1 contended that it would

 have been obvious to the person of ordinary skill in the art (POSA) to arrive at Plaintiffs’

 claimed formulation, including the combination of naloxone with BZK and EDTA. In each case,

 however, the Board disagreed because it concluded that Wyse teaches away from the use of BZK

 in naloxone formulations because—just as Plaintiffs’ expert Dr. Illum opined at trial—“Wyse

 teaches away from using [BZK], and especially with EDTA, in formulating intranasal naloxone.”

 E.g., Nalox-1 Pharms., LLC v. Opiant Pharms., Inc., IPR2019-00688, Paper 11 at 22 (P.T.AB.

 Sept. 9, 2019) (“’747 Wyse ID”). The Board instituted only on those patents having claims that

 were not limited to BZK specifically, and even then it expressly recognized that Nalox-1 had not

 shown a reasonable likelihood of success as to any claims reciting BZK. Id. at 23–24. It

 instituted on all claims in these patents only because it was required to do so under SAS. Id.

 II.    The Board’s Finding that Wyse Teaches Away from BZK Undermines Teva’s Case.

        The Board’s conclusions regarding BZK confirm that Teva’s obviousness case is fatally

 flawed. The Board focused on and found persuasive the very same passages of Wyse addressed

 by Plaintiffs’ expert Dr. Illum, in which Wyse reported that his formulation studies “surprisingly

 showed that the use of benzalkonium chloride, a common nasal product preservative, resulted in

 an additional degradant,” and from which Wyse concluded that BZK was not “acceptable” as a

 preservative “due to increased observed degradation.” ’747 Wyse ID at 20 (quoting Wyse (TX-


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Case 2:16-cv-07721-BRM-JAD Document 283 Filed 11/13/19 Page 5 of 9 PageID: 5794



 0048) at 27:29–32, 27:42–44); see also Trial Tr. 672:12–675:20. The Board acknowledged that

 Wyse designated the study involving BZK as “preliminary,” but contrary to Teva’s arguments

 did not find this to be a reason to discredit it; although Wyse may not have “conclusively

 determine[d]” the cause of the additional degradant, it was sufficient for Wyse to “criticize,

 discredit, or otherwise discourage” the POSA from BZK for the reference to teach away. ’747

 Wyse ID at 20. The Board also rejected the argument regarding Wyse’s omission of formulation

 12 from the list of unstable BZK-containing formulations and instead found that “formulation 12

 does not negate Wyse’s explicit statement discrediting [BZK] as an excipient in intranasal

 naloxone formulation[s].” Id. at 21.

        For Teva to prevail, it must persuade this Court to come to conclusions regarding Wyse

 that the Board rejected, despite Teva’s much higher burden of proof. The Board found that

 Nalox-1 lacked even a reasonable likelihood that it could establish, by a preponderance, that

 Wyse does not teach away. Here, Teva must establish that Wyse dose not teach away by clear

 and convincing evidence.3 The Board’s analysis of the BZK issue, though non-binding, is

 powerful evidence that Plaintiffs should prevail. Moreover, Plaintiffs are entitled to final

 judgment in this case if they can prevail on any one claim—and on five of the ten at issue (claim

 4 of the ’177 patent and claims 2, 24, 33, and 38 of the ’838 patent) the Board did not institute an

 IPR at all. And as to three more (claims 7 and 9 of the ’747 patent and claim 21 of the ’965

 patent), the Board expressly found that the claims did not meet the institution threshold, but

 nevertheless granted institution as required under SAS because of other claims in those patents.




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   Although the initial burden to come forward with a proffered teach away is Plaintiffs’, plainly
 they have met that burden; the ultimate burden of persuasion remains with Nalox-1 in the IPRs
 and with Teva here. In re Magnum Oil Tools Int’l, Ltd., 829 F.3d 1364, 1376 (Fed. Cir. 2016).


                                                  4
Case 2:16-cv-07721-BRM-JAD Document 283 Filed 11/13/19 Page 6 of 9 PageID: 5795



 III.   The Board’s Findings Regarding Dose Do Not Help Teva.

        The Board also addressed Nalox-1’s arguments regarding the obviousness of a 4 mg

 dose—an issue that was also a focus of Teva’s presentation at trial. But on this issue, the

 Board’s findings are much less relevant to the proceedings in this Court. Unlike on BZK, where

 the Board decided not to institute at all on two of the patents because the art taught away from

 using BZK, the Board made no final determinations regarding dose. Nalox-1’s dose arguments,

 unlike Teva’s, did not center not around Davies (TX-3109) or Strang (TX-0054), but rather on

 various pharmacokinetic calculations that Nalox-1 made from the disclosures of Wyse. ’747

 Wyse ID at 17. The Board expressed “doubt” about these calculations, but concluded that “these

 factual issues, together with evidence of secondary considerations, are better suited for

 evaluation after the parties fully develop the record during trial.” Id. at 18. Notably, Plaintiffs’

 principal response and supporting evidence to Nalox-1’s petitions—on both BZK and dose—

 have not yet been filed, and, at the institution stage, the Board is required to presume facts in

 favor of the petitioner. See, e.g., 37 C.F.R. § 42.108. In other words, the Board’s preliminary

 decisions in favor of Nalox-1 rested on the low evidentiary threshold for institution, as well as

 the particulars of Nalox-1’s arguments and a necessarily underdeveloped record.

        Here, the Court has a fully developed trial record, and unlike the Board at institution, it is

 well positioned to evaluate—and reject—Teva’s specific arguments, for all the reasons Plaintiffs

 have explained in their trial brief. And even leaving aside the entire question of the naloxone

 dose, the teach away on BZK, without more, suffices to entitle Plaintiffs to judgment.

        For all of these reasons, this Court should decide the BZK issue the same way the Board

 did and reject Teva’s obviousness arguments because the art (Wyse in particular) taught away

 from the use of BZK and BZK combined with EDTA. As to the remaining elements of the

 claims, they too are non-obvious, as was evident at trial.


                                                   5
Case 2:16-cv-07721-BRM-JAD Document 283 Filed 11/13/19 Page 7 of 9 PageID: 5796



  Date: November 13, 2019                  Respectfully submitted,

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                                       6
Case 2:16-cv-07721-BRM-JAD Document 283 Filed 11/13/19 Page 8 of 9 PageID: 5797



                      APPENDIX A: CHART OF NALOX-1 IPR PETITIONS

        IPR Case No.             Challenged Patent          Prior Art   Instituted?
        IPR2019-00685                 9,211,253              Wyse          Yes
        IPR2019-00686                 9,211,253              Wang           No
        IPR2019-00687                 9,211,253              Davies         No
        IPR2019-00688                9,468,747*              Wyse          Yes
        IPR2019-00689                9,468,747*              Wang           No
        IPR2019-00690                9,468,747*              Davies         No
        IPR2019-00691                9,561,177*              Wyse           No
        IPR2019-00692                9,561,177*              Wang           No
        IPR2019-00693                9,561,177*              Davies         No
        IPR2019-00694                9,269,965*              Wyse          Yes
        IPR2019-00695                9,269,965*              Wang           No
        IPR2019-00696                9,269,965*              Davies         No
        IPR2019-00697                9,775,838*              Wyse           No
        IPR2019-00698                9,775,838*              Wang           No
        IPR2019-00699                9,775,838*              Davies         No




 *
     Patent asserted against Teva in this litigation.


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Case 2:16-cv-07721-BRM-JAD Document 283 Filed 11/13/19 Page 9 of 9 PageID: 5798



                                CERTIFICATE OF SERVICE

        I hereby certify that on November 13, 2019, I caused a true and correct copy of the

 foregoing to be served on all counsel of record via CM/ECF and email.


                                                    /s/ Charles H. Chevalier
                                                    Charles H. Chevalier




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